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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0546V
                                    Filed: February 24, 2017
                                         UNPUBLISHED
*********************************
SANDRA R. HUGHES,                                 *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Milton Clay Ragsdale, IV, Ragsdale LLC, Birmingham, AL, for petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On May 4, 2016, Sandra R. Hughes (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleged that she
suffered cellulitis, a hematoma, and an abscess resulting from the pneumococcal
conjugate vaccination she received on November 21, 2014. Petition at 1, ¶¶ 2, 7, 15.
On October 7, 2016, the undersigned issued a decision awarding compensation to
petitioner based on respondent’s proffer to which petitioner agreed. (ECF No. 18).

          On January 30, 2017, petitioner filed a motion for attorneys’ fees and costs.
    (ECF No. 22). Petitioner requests attorneys’ fees in the amount of $23,676.50 and

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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    attorneys’ costs in the amount of $604.28 for a total amount of $24,280.78. Id. at ¶¶
    1, 5. In accordance with General Order #9, petitioner’s counsel represents that
    petitioner incurred no out-of-pocket expenses. Id. at ¶ 3. Additionally, in compliance
    with General Order #9, petitioner has filed a signed statement indicating she incurred
    no out-of-pocket expenses. See Attachment to Petitioner’s Motion for Attorneys’
    Fees and Costs. On February 3, 2017, respondent filed a response to petitioner’s
    motion. (ECF No. 24).

            In his response, respondent states “[n]either the Vaccine Act nor Vaccine Rule
    13 contemplates any role for respondent in the resolution of a request by petitioner for
    an award of attorneys’ fees and costs.” Id. at 1. Respondent does state that he “is
    satisfied the statutory requirements for an award of attorneys’ fees and costs are met
    in this case.” Id. at 2. Respondent further states that the “Federal Circuit has also
    made clear that special masters may rely on their prior experience in making
    reasonable fee determinations, without conducting a line-by-line analysis of the fee
    bill, and are not required to rely on specific objections raised by respondent.” Id.
    Thus, respondent “respectfully recommends that the Chief Special Master exercise
    her discretion and determine a reasonable award for attorneys’ fees and costs in this
    case.” Id. at 3. Petitioner filed a reply on February 24, 2017. (ECF No. 26).

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $24,280.783 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Milton Clay Ragsdale, IV.

         The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master

3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
